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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                          Case No.: 1:21-cr-00552 DLF-1



                     v.                            ORDER

KENNETH THOMAS,

                          Defendant.




                 This matter is before the Court on the Defendant's Motion in limine to preclude

prejudicial words and phrases and the Court having considered the motion, the Government's

response thereto and after a hearing on the motion it is this ________________ day of

_____________, 2022,

                 ORDERED that the defendant's motion should be and hereby is GRANTED

                 SO ORDERED



                                                      ______________________________
                                                          Dabney L Friedrich
                                                       United States District Judge




IN LIMINE ORD 151014Z Dec 22
